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      Attorneys for the Plaintiff
10
                                   UNITED STATES DISTRICT COURT
11

12                               CENTRAL DISTRICT OF CALIFORNIA
13
      MICHAEL F. EGAN, III           ) CASE NO: 2:14-cv-04840-RGK-JEM
14
                                     )
15              Plaintiff,           ) MOTION TO WITHDRAW AS
      v.                             )       COUNSEL
16
                                     )
17    JOHN DOE NO. 4,                )
18
                                     )
                Defendant.           )
19    _______________________________)
20
                    RENEWED MOTION TO WITHDRAW AS COUNSEL
21

22            ARICK W. FUDALI, and HERMAN LAW, (collectively, "PLAINTIFF'S
23
      COUNSEL") file this Motion to Withdraw as Counsel, pursuant to Local Rule
24

25    83 2.3.2 and give good cause as follows:
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27

28    1
        Although attorneys Jeffrey M. Herman and Lee G. Cohen had intended on making formal application for pro hac
      vice admission, in light of the issues raised in this Motion, they have stayed doing so.

                                                           1

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 1
                 PLAINTIFF'S COUNSEL filed this lawsuit on behalf of MICHAEL F.

 2    EGAN, III (hereinafter “MR. EGAN”) on June 23, 2014 [DE 1]. The Defendant
 3
      has not yet been named and no summons has been issued or served. There are no
 4

 5    motions pending or hearings set.
 6
                 Since the filing of this lawsuit, the relationship between PLAINTIFF'S
 7

 8    COUNSEL and MR. EGAN has deteriorated, and conflicts of interest between
 9
      PLAINTIFF'S COUNSEL and MR. EGAN have arisen, to the point that in the
10
      opinion of PLAINTIFF'S COUNSEL, they cannot and should not continue to
11

12    represent MR. EGAN in light of California RPC 3-700(B) and/or (C),2 which
13
      applies to lawyers appearing in this Court pursuant to Local Rule 83-3.1.2.3
14

15

16

17
      2
          California RPC 3-700(B), Mandatory Withdrawal, provides that:
18
                 A member representing a client before a tribunal shall withdraw from employment with the
19               permission of the tribunal, if required by its rules, and a member representing a client in other
                 matters shall withdraw from employment, if:
20               (1) The member knows or should know that the client is bringing an action, conducting a defense,
                 asserting a position in litigation, or taking an appeal, without probable cause and for the purpose
21               of harassing or maliciously injuring any person; or
                 (2) The member knows or should know that continued employment will result in violation of these
22               rules or of the State Bar Act; or
                 (3) The member's mental or physical condition renders it unreasonably difficult to carry out the
23               employment effectively.

24    California RPC 3-700(C), Permissive Withdrawal, provides that:

25               If rule 3-700(B) is not applicable, a member may not request permission to withdraw in matters
                 pending before a tribunal, and may not withdraw in other matters, unless such request or such
26               withdrawal is because:
                 (1) The client
27               ***
                 (d) by other conduct renders it unreasonably difficult for the member to carry out the employment
28               effectively, ***."


                                                                 2

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 1
            Pursuant to PLAINTIFF'S COUNSEL's obligations of confidentiality to

 2    MR. EGAN under Cal. B&P Code §6068(e), PLAINTIFF'S COUNSEL cannot
 3
      provide a complete explanation of the reasons for their conclusions. See Vesta
 4

 5    Strategies, LLC v. Estupinian, 2009 WL 793741 (N.D. Cal. 2009). Nonetheless,
 6
      PLAINTIFF'S COUNSEL note that MR. EGAN has recently appointed other
 7

 8    counsel who have terminated PLAINTIFF'S COUNSEL from a portion of this
 9
      matter and that MR. EGAN and Jeff Herman, who had been expected to be lead
10
      trial counsel in this case, have been named as codefendants in a malicious
11

12    prosecution case filed in United States District Court for the District of
13
      Hawaii. See Garth Ancier v. Michael F. Egan, III, Jeffrey M. Herman and Mark F.
14

15    Gallagher, Case No. CV14-00294JMS-RLP. "[A]n irreparable breakdown of the
16
      working relationship between counsel and client" is one of the well-recognized
17

18
      bases for withdrawal. Manfredi & Levine v. Superior Court, 66 Cal. App. 4th 1128,

19    1135, 78 Cal. Rptr. 2d 494 (1998).
20
            “Where, as here, the duty not to reveal confidences prevented counsel from
21

22    further disclosure and the court accepted the good faith of counsel’s
23
      representations, the court should find the conflict sufficiently established and
24

25    permit withdrawal." Aceves v. Superior Court, 51 Cal. App. 4th 584, 592, 59 Cal.
26
      Rptr. 2d 280 (1996). Nonetheless, and if this Court so requires, PLAINTIFF'S
27
      COUNSEL will provide further information in support of this motion under seal.
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                                               3

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            The recently retained other counsel for MR. EGAN have informed
 2

 3    PLAINTIFF'S COUNSEL that even though recent counsel have taken over some
 4
      responsibilities for MR. EGAN, they refuse to be substituted in as replacement
 5

 6
      counsel and demand instead that PLAINTIFF'S COUNSEL continue to litigate the

 7    matter. PLAINTIFF'S COUNSEL provided a draft of this motion to the other
 8
      recent counsel for MR. EGAN prior to filing this motion and is serving a copy of
 9

10    this motion on that counsel and MR. EGAN contemporaneously with its filing.
11
      This is intended to give MR. EGAN and any counsel he may choose an
12

13
      opportunity to be heard on the motion.
14
            The withdrawal of counsel in this case will not unduly prejudice MR. EGAN
15
      or delay the matter. Pursuant to the procedural requirements of Cal. Civ. Code
16

17    §340.1, there has been no summons issued, the Court has not yet ruled upon the
18
      Certificates of Merit, counsel for Defendant has not made an official appearance,
19

20    and no hearing dates have been set.
21
            A Declaration of Lee Gill Cohen in support of this Motion is attached
22

23
      hereto as Exhibit “A.”

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                                               4

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 1
            WHEREFORE, PLAINTIFF'S COUNSEL pray that the above suffices as

 2    good cause in accordance with Local Rule 83-2.3.2, that this Honorable Court
 3
      grant PLAINTIFF'S COUNSEL’s Motion to Withdraw as Counsel.
 4

 5          Dated: July 31, 2014.
 6
                                           By: /s/ Arick Fudali                   _
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                                Motion to Withdraw as Counsel
